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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

      Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

      Defendants.



      UNITED STATES’ UNOPPOSED MOTION FOR A PROTECTIVE ORDER
           GOVERNING DISCLOSURE OF DISCOVERY MATERIALS


      Pursuant to Rules 16(d)(1) and 49.1(e) of the Federal Rules of Criminal

Procedure, the United States files this Unopposed Motion for a Protective Order

Governing Disclosure of Discovery Materials. The United States previously filed a

Motion for a Protective Order Governing Disclosure of Discovery Materials on August

10, 2021. See ECF No. 31. Subsequent to that filing, the Parties have reached a

compromise on the terms of a revised proposed Protective Order. Accordingly, the

United States submits this unopposed motion, and its previous motion is now moot.

      The United States has readied the bulk of its anticipated discovery for production

to Defendants and stands ready to produce it pursuant to an appropriate protective

order. Given the nature of the charges and anticipated discovery, a protective order is

necessary in this case. Defendants DaVita Inc. and Kent Thiry, DaVita’s former CEO,

are charged with two counts of violating the Sherman Antitrust Act, 15 U.S.C. § 1, by

conspiring with DaVita’s competitors to refrain from soliciting employees. As a result of

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these allegations, the discovery that the United States plans to produce includes

employee personally identifying information (PII), including social security numbers and

addresses, employee salary information, and confidential business information, among

other types of sensitive information.

         For the reasons set forth below, the Court should enter the unopposed proposed

order.

                                        BACKGROUND

         On July 14, 2021, a federal grand jury in this district indicted Defendants DaVita

Inc. and Kent Thiry, the former CEO of DaVita, charging them with two counts of

conspiring with other competing employers to suppress competition between them by

agreeing to employee non-solicitation agreements, in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1. The indictment alleges that each conspiracy was a per se

unlawful restraint of interstate trade and commerce. Count 1 alleges a conspiracy

between Defendants and the related companies Surgical Care Affiliates, LLC and SCAI

Holdings, LLC (collectively, SCA). Indict. ¶¶ 1-10.

         A grand jury sitting in the Northern District of Texas previously indicted SCA this

year, charging them with two counts of conspiring to violate Section 1 of the Sherman

Act. ECF No. 1, United States v. Surgical Care Affiliates, LLC, et al., No. 3:21-cr-

00011-L (N.D. Tex. Jan. 5, 2021). Count 1 against Defendants here charges the same

conspiracy as that charged against SCA in Count 2 in the Northern District of Texas.1



1
 The conduct charged in Count 2 against Defendants here involves a company and
alleged co-conspirators that are not related to SCA, and the conduct charged in Count 1
against SCA in the Northern District of Texas involves a company and alleged co-
conspirators that are not related to DaVita. The charges against Defendants DaVita
and Thiry are properly venued in the District of Colorado, the headquarters location of
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The parties to the Surgical Care Affiliates matter submitted to the Court an agreed

protective order that is materially the same as what the government proposed to

Defendants Thiry and DaVita. On January 28, 2021, the Hon. Sam A. Lindsay entered

that order, which is attached hereto as Exhibit B.2

                                        ARGUMENT

       This Court has express authority to enter protective orders to govern criminal

discovery. Fed. R. Crim. P. 16(d)(1) (“At any time the court may, for good cause, deny,

restrict, or defer discovery or inspection, or grant other appropriate relief.”); see also

Fed. R. Crim. P. 49.1(e) (“For good cause, the court may by order in a case: (1) require

redaction of additional information; or (2) limit or prohibit a nonparty’s remote electronic

access to a document filed with the court.”). Indeed, “[a] trial court can and should,

where appropriate, place a defendant and his counsel under enforceable orders against

unwarranted disclosure of the materials which they may be entitled to inspect.”

Alderman v. United States, 394 U.S. 165, 185 (1969). Rule 16(d) “gives district courts

the discretion to determine the circumstances ‘under which the defense may obtain

access to discoverable information.’” United States v. DeLeon, 428 F. Supp. 3d 716,

756 (D.N.M. 2019) (quoting In re Terrorist Bombings of U.S. Embassies in E. Africa, 552

F.3d 93, 122 (2d Cir. 2008)). The Rule “is ‘permissive’ and gives district courts the

ability to ‘limit or otherwise regulate discovery pursuant to Rule [16(d)(1) ].’” Id. (quoting

United States v. Delia, 944 F.2d 1010, 1018 (2d Cir. 1991)).



DaVita while Mr. Thiry was its CEO during the charged time periods.
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  The proposed Protective Order here differs only with respect to modifications
requested by Defendants during the meet and confer process and an additional
provision added by the United States to address concerns over civil discovery that
arose after follow-on civil litigation was filed.
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       The potentially discoverable material in this case is voluminous, at least a million-

and-a-half documents, and replete with confidential information. The bulk of potentially

discoverable material consists of grand jury returns from subpoenas issued to multiple

companies, including competitors of DaVita and SCA. The subpoena returns and other

potentially discoverable information includes documents containing PII, including social

security numbers, dates of birth, and other protected information, some individually

identifiable health information, and confidential business information, including financial

records that contain payment records and account numbers, salary information,

competitively-sensitive business information, and other sensitive personal and

confidential business information. The potentially discoverable material also includes

material pertinent to the United States’ ongoing investigation. Redacting the PII and

sensitive information from all of these documents is overly burdensome and may not be

possible.

       To facilitate the timely resolution of the case, the United States intends to go

beyond its discovery obligations by making the vast majority of the discovery available

unredacted on encrypted media, but seeks to ensure that the confidential information

and PII in this case will be adequately protected. The United States’ encrypted media

will enable defense counsel to securely access the discovery and allow them to make

copies of the discovery if they so choose. If any party wishes to use a document as an

exhibit to a motion or at trial, that party would be responsible for complying with the

Court’s rules regarding protecting PII by redacting the document and/or seeking leave to

file the document under seal.




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       Accordingly, to safely and timely facilitate the discovery in this case, the United

States seeks the proposed Protective Order. While the Defendants do not agree with

every characterization of the case in the government’s motion, they do not object to the

proposed order.

                                      CONCLUSION

       The United States requests that the Court enter the unopposed proposed

Protective Order limiting the disclosure of discovery materials in this case as articulated

in the proposed Protective Order, and determine that the United States’ August 10,

2021 motion is now moot. The United States believes these proposed restrictions

constitute the least restrictive measures available to protect the various interests

involved in this case, including the Defendants’ interest in full and efficient discovery.

The compelling interests of protecting PII, personal health information, social security

numbers, financial records, dates of birth, and sensitive information by preventing

disclosure of this information to third parties constitutes good cause to enter the

requested Protective Order.



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                             CERTIFICATE OF SERVICE

      I certify that on August 13, 2021, I filed this document with the Clerk of the Court

for the United States District Court of Colorado using the CM/ECF system, which will

serve this document on all counsel of record.

                                                s/ Anthony W. Mariano
                                                Anthony W. Mariano




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